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                  UNITED STATES DISTRICT COURT
                  EASTERN DISTRICT OF MICHIGAN
                       SOUTHERN DIVISION


  In re Flint Water Cases.               Judith E. Levy
                                         United States District Judge
  ________________________________/

  This Order Relates To:

  17-10164 Walters v. Flint, et al.

  ________________________________/

     ORDER REGARDING JEFFREY WRIGHT’S MOTION FOR
             JUDGMENT OF DISMISSAL [1049]

       Jeffrey Wright filed a motion for judgment of dismissal on the

 docket in this case, which is identical to the motion filed in Case No. 16-

 10444. (ECF No. 1049; see also Case No. 16-10444 ECF No. 2324.) The

 Court granted Mr. Wright’s motion in Case No. 16-10444, and a

 Judgment has been entered. Pursuant to the Order of Consolidation, the

 Judgment entered in Case No. 16-10444 applies to all cases where Mr.

 Wright is a Defendant. This motion is, accordingly, moot.

       IT IS SO ORDERED.

 Dated: February 1, 2023                  s/Judith E. Levy
 Ann Arbor, Michigan                      JUDITH E. LEVY
                                          United States District Judge
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                       CERTIFICATE OF SERVICE

       The undersigned certifies that the foregoing document was served
 upon counsel of record and any unrepresented parties via the Court’s
 ECF System to their respective email or first-class U.S. mail addresses
 disclosed on the Notice of Electronic Filing on February 1, 2023.

                                           s/William Barkholz
                                           WILLIAM BARKHOLZ
                                           Case Manager




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